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     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                      OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,    Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                              DEFENDANTS NSO GROUP
                                               TECHNOLOGIES LIMITED
13               Plaintiffs,                   AND Q CYBER TECHNOLOGIES
                                               LIMITED’S MOTION TO STAY
14         v.                                  PENDING APPEAL
15   NSO GROUP TECHNOLOGIES LIMITED            [Filed Concurrently with Declaration of
     and Q CYBER TECHNOLOGIES LIMITED,         Joseph N. Akrotirianakis and [Proposed]
16                                             Order]
                 Defendants.
17                                             Date:    September 9, 2020
                                               Time:    9:00 a.m.
18                                             Ctrm:    3
                                               Judge:   Hon. Phyllis J. Hamilton
19

20                                             Action Filed: 10/29/2019
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      DEFENDANTS’ MOTION TO STAY                                     Case No. 4:19-cv-07123-PJH
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 1                                       NOTICE OF MOTION

 2           TO THE COURT AND ALL PARTIES AND THEIR COUNSEL OF RECORD:

 3           PLEASE TAKE NOTICE that on September 9, 2020 at 9:00 a.m., or as soon thereafter as

 4 the matter may be heard, Defendants NSO Group Technologies Limited (“NSO”) and Q Cyber

 5 Technologies Limited (“Q Cyber”) will bring this motion for hearing before the Honorable Phyllis

 6 J. Hamilton, Chief Judge for the United States District Court for the Northern District of California,

 7 Oakland Division, Courtroom 3. This motion is based on this Notice of Motion and Motion, the

 8 following Memorandum of Points and Authorities, the concurrently-filed Declaration of Joseph
 9 N. Akrotirianakis, the pleadings, papers and records on file in this case, and such oral argument as

10 may be presented.

11                                      REQUEST FOR RELIEF

12           Defendants request the Court issue an order staying proceedings that would impose

13 litigation burdens on Defendants pending the final resolution of their appeal of the Court’s order

14 denying their motion to dismiss for lack of subject-matter jurisdiction because the appeal

15 automatically stays all such proceedings. 1

16                                   POINTS AND AUTHORITIES

17 I.        THE COURT SHOULD STAY PROCEEDINGS AFFECTING DEFENDANTS
             PENDING FINAL RESOLUTION OF DEFENDANTS’ APPEAL
18

19           On July 16, 2020, this Court denied Defendants’ motion to dismiss the complaint for lack

20 of subject-matter jurisdiction, rejecting Defendants’ argument that they are protected by foreign

21 sovereign immunity. (Dkt. No. 111 at 12-14.) On July 21, 2020, Defendants filed an interlocutory

22 appeal. (Dkt. No. 112.) Defendants’ position on appeal is that the Court should have ruled that

23 Defendants are entitled to derivative foreign sovereign immunity and dismissed the complaint for

24 lack of subject-matter jurisdiction. See Doe v. Holy See, 557 F.3d 1066, 1074 (9th Cir. 2009) (per

25

26   1
     In bringing this motion, Defendants do not concede that they are subject to the personal
27 jurisdiction of this Court and reserve all rights to contest personal jurisdiction. Defendants also
   do not concede that this Court has subject matter jurisdiction over this proceeding and reserve all
28 rights to contest subject matter jurisdiction.
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 1   curiam) (permitting interlocutory appeals from denials of foreign sovereign immunity).

 2             Defendants’ appeal automatically stays all proceedings in this Court related to the subject-

 3   matter of the appeal. E.g., Microsoft Corp. v. Commonwealth Scientific & Indus. Research Org.,

 4   2005 WL 8165886, at *2 (N.D. Cal. Nov. 14, 2005). Because Defendants’ appeal asserts immunity

 5   from participating in this action, the appeal gives rise to a stay of any proceedings that place

 6   “burdens of litigation” upon Defendants. M.G. v. Metro. Interpreters & Translators, Inc., 2013

 7   WL 690833, at *1 (S.D. Cal. Feb. 26, 2013) (citing Ashcroft v. Iqbal, 556 U.S. 662, 685 (2009));

 8   see J.P. ex rel. Villanueva v. County of Alameda, 2018 WL 3845890, at *2–4 (N.D. Cal. Aug. 13,

 9   2018) (qualified immunity); Eckert Int’l, Inc. v. Government of Sovereign Democratic Rep. of Fiji,

10   834 F. Supp. 167, 174 n.12 (E.D. Va. 1993) (sovereign immunity). Accordingly, this Court should

11   issue an order staying all proceedings that impose litigation burdens on Defendants, until the Ninth

12   Circuit resolves the appeal.

13             “As a general rule, the filing of a notice of appeal is an event of jurisdictional

14   significance—it confers jurisdiction on the court of appeals and divests the district court of its

15   control over those aspects of the case involved in the appeal.” In re Estate of Conners, 6 F.3d 656,

16   658 (9th Cir. 1993). As a result, when a party files an interlocutory appeal, “the district court is

17   divested of jurisdiction over the case, pending the appellate court’s resolution of the appeal.”

18   Microsoft Corp., 2005 WL 8165886, at *2 (citing Chuman v. Wright, 960 F.2d 104, 105 (9th Cir.

19   1992)).     The appeal “automatically delay[s]” proceedings “until disposition of the appeal.”

20   Chuman, 960 F.2d at 105.

21             Defendants have filed an interlocutory appeal from this Court’s order denying Defendants’

22   motion to dismiss (Dkt. Nos. 112, 113), because the portions of that order declining to recognize

23   Defendants’ foreign sovereign immunity are immediately appealable under the collateral order

24   doctrine. Alto v. Black, 738 F.3d 1111, 1125 (9th Cir. 2013); Doe v. Holy See, 557 F.3d 1066,

25   1074 (9th Cir. 2009) (per curiam); Microsoft Corp., 2005 WL 8165886, at *2. Consequently,

26 Defendants’ appeal automatically stays proceedings “over those aspects of the case involved in the

27 appeal.” Conners, 6 F.3d at 658.

28             Because Defendants’ appeal involves its claim of foreign sovereign immunity, the “aspects
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 1   of the case involved in the appeal,” id., include any proceedings that require participation in

 2   “burdens of litigation.” Foreign sovereign immunity “is an immunity from suit rather than a mere

 3   defense to liability,” Compania Mexicana de Aviacion, S.A. v. U.S. Dist. Ct., 859 F.2d 1354, 1358

 4 (9th Cir. 1988), so a “defendant asserting immunity should be free from all burdens of litigation,”

 5   M.G. v. Metro. Interpreters & Translators, Inc., 2013 WL 690833, at *1 (S.D. Cal. Feb. 26, 2013)

 6   (citing Ashcroft v. Iqbal, 556 U.S. 662, 685 (2009)). Defendants’ immunity defense applies to all

 7   of Plaintiffs’ claims. On appeal, therefore, Defendants will maintain that they are immune from

 8   participation in any aspect of this case, including discovery and other proceedings. Those

 9   proceedings are thus “inextricably tied to the question of immunity.” Eckert, 834 F. Supp. at 174

10   n.12 (quoting Apostol v. Gallion, 870 F.2d 1335, 1338 (7th Cir. 1989)). Those aspects of the case

11   should not “go forward” while the Ninth Circuit considers whether they are permissible. Id.; see

12   J.P ex rel. Villanueva, 2018 WL 3845890, at *2–4 (holding that appeal from denial of qualified

13   immunity stayed “[d]iscovery and all district court proceedings” because the defense “pertains to

14   all claims against” appealing defendants).

15          Courts in this District and others have recognized that a defendant’s appeal from a denial

16   of foreign sovereign immunity stays all proceedings during the pendency of the appeal. In

17   Microsoft Corp., a court in this District denied the defendant’s motion to dismiss based on foreign

18   sovereign immunity. 2005 WL 8165886, at *1. The defendant filed an interlocutory appeal of

19   that decision, which the court held automatically stayed all proceedings. Id. at *2–3.

20          The same occurred in Eckert, where the court denied the defendant’s motion to dismiss

21   based on a claim of foreign sovereign immunity but held that the defendant’s “interlocutory appeal

22   divests th[e] [c]ourt of jurisdiction over the remaining matters.” 834 F. Supp. at 174. Courts have

23   reached the same conclusion in similar contexts involving immunity from suit. E.g., J.P. ex rel.

24   Villanueva, 2018 WL 384890, at *2–4; see also Stewart v. Donges, 915 F.2d 572, 575–76 (10th

25   Cir. 1990) (holding that “the divestiture of jurisdiction brought about by the defendant’s filing of

26   a notice of appeal is virtually complete” when “the central issue is the defendant’s asserted right

27   not to have to proceed to trial”); Ashker v. Cate, 2019 WL 1558932, at *4 (N.D. Cal. Apr. 10,

28   2019) (holding court is “divested of its control of any future aspects of the case” when “the very
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 1   continuation of th[e] case is the subject of a currently pending appeal”); Hernandez v. City of San

 2   Jose, 2017 WL 2081236, at *11–14 (N.D. Cal. May 15, 2017) (staying all proceedings pending

 3 appeal of denial of motion to dismiss based on qualified immunity); United States v. Bhatia, 2007

 4 WL 2795066, at *1 (N.D. Cal. Sept. 26, 2007) (staying all proceedings pending defendant’s appeal

 5 from “denial of a motion to dismiss an indictment based on collateral estoppel”). 2

 6           This Court should reach the same conclusion and hold that Defendants’ appeal stays all

 7 proceedings burdening Defendants. 3 Such a stay may be lifted only if the Court “issues a written

 8 certification that the appeal is frivolous or has been waived.” Microsoft Corp., 2005 WL 8165886,

 9 at *2. But that “power must be used with restraint,” Apostol, 870 F.2d at 1339, and such a

10 certification would not be justified here. An appeal is not frivolous merely because the court may

11 find a defendant’s arguments “unpersuasive,” Microsoft Corp., 2005 WL 8165886, at *3, “unlikely

12 to succeed,” Sialoi v. City of San Diego, 2014 WL 12669563, at *4 (S.D. Cal. Sept. 15, 2014), or

13 even “weak,” Bhatia, 2007 WL 2795066, at *2. Instead, an appeal is frivolous only when it “‘so

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15   2
       The only cases referenced by Plaintiffs during the parties’ pre-filing conferencing of counsel
     were Lewis v. Mutond, 918 F.3d 142 (D.C. Cir. 2019), Campbell-Ewald Co. v. Gomez, 136 S. Ct.
16   663 (2016), and Martin v. Halliburton, 618 F.3d 476, 485 (5th Cir. 2010). During the parties’
17   conferencing, Plaintiffs’ counsel represented that these authorities were the only authorities upon
     which Plaintiffs intended to rely in arguing that Defendants’ appeal does not stay discovery.
18   (Declaration of Joseph N. Akrotirianakis ¶ 4.) But none of these cases addresses the scope of a
     stay resulting from an interlocutory appeal. Plaintiffs argued that Lewis held that conduct-based
19   foreign sovereign immunity is not an immunity from suit, but Lewis held no such thing, and the
     Ninth Circuit has held otherwise. Dogan v. Barak, 932 F.3d 888, 895 (9th Cir. 2019). Plaintiffs
20
     argued that Campbell-Ewald and Martin held that derivative domestic sovereign immunity is not
21   an immunity from suit. With respect to Campbell-Ewald, that is false; the Supreme Court merely
     acknowledged that derivative domestic sovereign immunity is not “absolute.” 136 S. Ct. at 672.
22   That is also true of qualified immunity, which is undisputedly an immunity from suit. In its
     decision in Martin, the Fifth Circuit held that a denial of derivative domestic sovereign immunity
23   is not immediately appealable, but the Ninth Circuit has held the opposite. Del Campo v. Kennedy,
     517 F.3d 1070, 1074 (9th Cir. 2008); see also In re World Trade Ctr. Disaster Site Litig., 521 F.3d
24
     169, 192–93 (2d Cir. 2008) (same). The Fifth Circuit’s decision in Martin also has no bearing on
25   whether this Court’s denial of conduct-based sovereign immunity is immediately appealable.
     3
     The stay does not bar proceedings that do not burden Defendants. Ashker v. Cate, 2019 WL
26
   1558932, at *3 (N.D. Cal. Apr. 10, 2019). For example, the Court may still decide any motions
27 that have already been fully briefed by Defendants. And Plaintiffs may still file an amended
   complaint (Dkt. No. 111 at 45), although Defendants’ deadlines for responsive pleadings would
28 be stayed.
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 1   baseless that it does not invoke appellate jurisdiction.’” Marks v. Clarke, 102 F.3d 1012, 1017 n.8

 2   (9th Cir. 1996) (quoting Apostal, 870 F.2d at 1339). 4 That is not true of Defendants’ assertion of

 3   foreign sovereign immunity, which is based on federal judicial decisions. (Dkt. No. 45 at 10; Dkt.

 4   No. 62 at 10.) Although this Court found those cases distinguishable, Defendants’ arguments

 5   warranted consideration and were not foreclosed by Ninth Circuit precedent. (Dkt. No. 111 at 14-

 6   15.) That this Court was not persuaded does not mean the appeal is frivolous. See Microsoft

 7   Corp., 2005 WL 8165886, at *3 (finding appeal “unpersuasive” but not frivolous because no case

 8   “expressly” rejected defendant’s argument). 5

 9   II.     CONCLUSION
10           For the foregoing reasons, the Court should stay all proceedings placing litigation burdens
11   on Defendants until Defendants’ appeal is finally resolved.
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     See also J.P., 2018 WL 3845890, at *2 (“‘An appeal is frivolous if the results are obvious, or the
   arguments of error are wholly without merit,’” (quoting In re George, 322 F.3d 586, 591 (9th Cir.
20
   2003) (quoting Maisano v. United States, 908 F.2d 408, 411 (9th Cir. 1990))), and “[a]n appeal
21 that is wholly without merit is one that is ‘so baseless that it does not invoke appellate jurisdiction,’
   such as when ‘the disposition is so plainly correct that nothing can be said on the other side,’”
22 (quoting Schering Corp. v. First DataBank Inc., 2007 WL 1747115, at *3 (N.D. Cal. June 18,
   2007) (quoting Apostol, 870 F.2d at 1339))).
23 5
     Even if the automatic stay did not apply to all proceedings burdening Defendants, it would at a
24 minimum apply to discovery related to Defendants’ foreign sovereign customers and the actions
   Defendants take on behalf of those customers. Defendants’ sovereign immunity defense depends
25 on their argument that they act only on behalf of foreign sovereigns. Plaintiffs dispute that claim
   (Dkt. No. 55 at 6-7), so they have requested discovery of (for example) the identities of
26
   Defendants’ customers, those customers’ activities, and Defendants’ actions on behalf of those
27 customers (Dkt. No. 95-2). All that discovery is directly relevant to Defendants’ foreign sovereign
   immunity defense and is, therefore, related to the issues on appeal. Conners, 6 F.3d at 658. As a
28 result, Defendants’ appeal would stay that discovery even if stayed nothing else.
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 1   DATED: August 5, 2020                KING & SPALDING LLP
 2

 3
                                          By: /s/ Joseph N. Akrotirianakis _________
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